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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    Caro-Greene,                                       Case No. 21-cv-08915-JSC
                                   8                   Plaintiff,
                                                                                           CLERK'S NOTICE SCHEDULING
                                   9            v.                                         INITIAL CASE MANAGEMENT
                                        Ancient Brands, LLC                                CONFERENCE
                                  10
                                                       Defendants.                         RE: DKT. NO. 17
                                  11

                                  12
Northern District of California
 United States District Court




                                  13   TO ALL PARTIES AND COUNSEL OF RECORD:

                                  14          This action was reassigned to Judge Jacqueline Scott Corley for all-purposes. Please take

                                  15   notice that an initial case management conference is scheduled for July 14, 2022

                                  16   at 1:30 p.m., by Zoom videoconference (ZOOM Meeting ID: 161 366 1817/Password: 924619)

                                  17   before Judge Jacqueline Scott Corley. A case management conference statement shall be filed

                                  18   seven days prior to the conference. Any request to reschedule the above date shall be made in

                                  19   writing, and, if possible, by stipulation. For a copy of Judge Corley’s Standing Order and other

                                  20   information, please refer to the Court’s website at www.cand.uscourts.gov.

                                  21   Dated: May 20, 2022
                                                                                        Mark B. Busby
                                  22                                                    Clerk, United States District Court
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                                                                                        By: ________________________
                                  25                                                    Ada Means, Deputy Clerk to the
                                                                                        Honorable JACQUELINE SCOTT CORLEY
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